            Case 4:19-cv-04079-JSW Document 82 Filed 12/08/20 Page 1 of 5




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     ATTORNEYS FOR PLAINTIFFS
12

13                         UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
14
                                                     Case 4:19-cv-04079-JSW
15 MARIA ALVAREZ, ET AL.

16                                                   NOTICE OF MOTION AND
                   PLAINTIFFS,
                                                     UNOPPOSED MOTION TO
17                                                   WITHDRAW AS COUNSEL
           VS.                                       FOR PLAINTIFFS ALFRED
18                                                   HERNANDEZ, III, WILLIAM
   ADTALEM GLOBAL EDUCATION, INC.                    SMITH AND JOSE VASQUEZ-
19 formerly known as DEVRY EDUCATION                 BAIRES
20 GROUP, INC., DEVRY UNIVERSITY, INC.               [Accompanying Document: [Proposed]
   AND DOES 1-10
                                                      Order Granting Motion to Withdraw]
21
               DEFENDANTS.                           Judge: Hon. Jeffrey S. White
22
                                                     Hearing Date: January 12, 2021
23                                                   Time: 9:00 a.m.
                                                     Location: Court Room 5, 2nd Floor, U.S.
24                                                   District Court, 1301 Clay Rd. Oakland,
                                                     CA 94612
25
                                   NOTICE OF MOTION
26
27         PLEASE TAKE NOTICE THAT on January 12, 2021 at 9:00 a.m., in Courtroom
                                         1
28
     MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFFS                  NO. 19 CIV. 04079(JSW)
                 Case 4:19-cv-04079-JSW Document 82 Filed 12/08/20 Page 2 of 5




 1 5, 2nd Floor, U.S. District Court, 1301 Clay Street, Oakland, California 94612, Plaintiffs’ counsel,

 2 John R. Fabry and Luis Muñoz, of The Carlson Law Firm, P.C., and Ari Moss, of Moss Bollinger,

 3
     L.L.P., will and hereby do move the Court, pursuant to L.R. 11-5 and in compliance with CAL R.
 4
     PROF. CONDUCT 3-700, for leave to withdraw as counsel for Plaintiffs Alfred Hernandez, III,
 5
     William Smith and Jose Vasquez-Baires.
 6
           UNOPPOSED MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFFS
 7
                    HERNANDEZ, SMITH, AND VASQUEZ-BAIRES
 8
            Pursuant to Local Rule 11-5, Attorneys John R. Fabry and Luis Muñoz, of the Carlson Law
 9
     Firm, P.C. and Ari Moss, of Moss Bollinger, LLP (hereinafter “Movants”), hereby request leave
10

11 to withdraw as counsel for Plaintiffs Alfred Hernandez, III, William Smith and Jose Vasquez-

12 Baires (hereinafter “Plaintiffs”). Movants state the following grounds for this notice and motion:

13          1.       On July 25, 2019, the Court granted John R. Fabry and Luis Muñoz leave to appear
14 pro hac vice in this action pursuant to Court Order. [Docs. 6 and 7].

15
            2.       Professional considerations require the termination of the representation of
16
     Plaintiffs Alfred Hernandez, III, William Smith and Jose Vasquez-Baires, by Movants. See ABA
17
     Comm. on Ethics and Prof’l Responsibility, Formal Opinion 476 (2016); see also State Bar Of
18
19 Texas Prof’l Ethics Comm., Opinion No. 669 (March 2018).

20          3.       The tension between the obligation of Plaintiffs’ counsel to provide the Court with

21 sufficient facts to rule on this motion and the duty of confidentiality to the client has been

22
     characterized as “a procedural problem that has no fully satisfactory solution.” ABA Comm. on
23
     Ethics and Prof’l Responsibility, Formal Opinion 476 (2016)(citation omitted).
24
            4.       Thus, the statement that “professional considerations require termination of the
25
     representation ordinarily should be accepted as sufficient.” State Bar Of Texas Prof’l Ethics
26
27
                                                      2
28
     MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFFS                              NO. 19 CIV. 04079(JSW)
                  Case 4:19-cv-04079-JSW Document 82 Filed 12/08/20 Page 3 of 5




 1 Comm., Opinion No. 669 (March 2018), citing Texas Disciplinary Rule of Prof’l Conduct 1.15

 2 cmt 3; see also ABA Comm. on Ethics and Prof’l Responsibility, Formal Opinion 476 (2016).

 3
             5.       In addition, these Plaintiffs did not opt-out of the class action captioned
 4
     McCormick, et al. v. Adtalem Global Ed. Inc., et al., Case No. 2018-CH-04872 (Cir. Ct. Cook
 5
     County, Illinois).
 6
             6.       Prior to filing the instant motion, Movants complied with the notice requirements
 7

 8 of CAL R. PROF. CONDUCT 3-700, and took reasonable steps to safeguard the rights of Plaintiffs.

 9           7.       Further, Movants have notified counsel for Defendants about their intent to
10 withdraw as counsel for these Plaintiffs. Defendants indicated that they do not oppose this motion.

11
             8.       The decision to permit counsel to withdraw is within the sound discretion of the
12
     trial court. United States v. Carter, 560 F.3d 1107, 1113 (9th Cir. 2009). Courts consider several
13
     factors when deciding a motion for withdrawal, including: “(1) the reasons counsel seeks to
14

15 withdraw; (2) the possible prejudice that withdrawal may cause to other litigants; (3) the harm that

16 withdrawal might cause to the administration of justice; and (4) the extent to which withdrawal

17 will delay resolution of the case.” Deal v. Countrywide Home Loans, No. 09-1643-SBA, 2010 WL

18 3702459, at *2 (N.D. Cal. Sept. 15, 2010). Movants perceive no risk to other litigants, harm to the
19
     administration of justice or delay to the plaintiffs.
20
             9.       Movants respectfully request that the Court grant their motion to withdraw.
21
     Dated: December 8, 2020.
22

23                                                   Respectfully submitted,

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               Case 4:19-cv-04079-JSW Document 82 Filed 12/08/20 Page 4 of 5




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 3
                                                   By: /s/ Luis Munoz
 4                                                 LUIS MUÑOZ
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 9
                                                  By: /s/ Ari Moss
10                                                Ari Moss
                                                  State Bar No:238579
11                                                ari@mossbillinger.com

12                                                ATTORNEYS FOR PLAINTIFFS
13

14

15                                  CERTIFICATE OF CONFERENCE

16           I hereby certify that counsel for the parties have conferred regading the Motion to

17 Withdraw and Defendants do not oppose the motion.

18
19
                                                          /s/ John R. Fabry
20                                                        John R. Fabry

21

22

23                                     CERTIFICATE OF SERVICE

24           I hereby certify that a true and correct copy of the above and foregoing document was filed

25 and served electronically through the Court’s CM/ECF system on December 8, 2020 upon the

26
     following counsel of record:
27
                                                      4
28
     MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFFS                              NO. 19 CIV. 04079(JSW)
             Case 4:19-cv-04079-JSW Document 82 Filed 12/08/20 Page 5 of 5




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16                                               /s/ Luis Muñoz
                                                 Luis Muñoz
17

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     MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFFS                 NO. 19 CIV. 04079(JSW)
